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                                     199-4       filed
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                                     199-4       filed
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                       -KLM Document     215-5Filed
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                       -KLM Document     215-5Filed
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